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                        IN TI{E UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF IOWA




UNITED STATES OF AMERICA,
                                                       Crimigal No. 4: l9-cr-005
               v.
                                                       STIPULATED DISCOVERY AND
                                                       PROTECTIVE ORDER
MARTIN JAMES TIRRELL
               Defendant.


       The following discovery and reciprocal discovery obligations have been agreed to by the

parlies and the Cou$ so ORDERS such cornpliance:

       1.      Acknowleclgment     of   Requests   for Discoverqt, The parties acknowledge       that

Deferrdant has requested discovery from the Government, pursuant to Fed. R. Crirn. P. l6(a) and

26.Zand l8 U.S.C. $ 3500(b), and that the Government has requested reciprocal discovery front

tlre Defendant, pursuant to Fed. R. Crim. P. l6(b) a*d 26.2. Defendant further acknowledges that

the Covernment has requested notice of any alibi, Fed. R. Crim.    P,12.l, insanity defense, Fed. R.

Crirn. p . IZ.Z, or public aurhority. defense, Fed, R. Crim. P. 12.3, and agrees to provide notice of

such defenses withip fourteen calendar days of this agrsement, untess the Court specifically sets a

diflbrent date upon application of the Def'endant.l

       Z.      Government's Rule I6(a) Discovery und other Physical Evitlence. Upon

execution and approval by the Court of this Agreenrent and Order, the Government          will   make


available for revierv by Detendant's counsel any original physical evidence, financial records, and

other Rule l5(a) materials gathered during the investigation by whatevet' means, including by



        I If Defendant's counsel requires firrther information aboutthe time. date, and place of the
alleged offense beyond the irrformation set {brth in the Indictrnent and the Government's discovery
materials, Del'endant's counsel will specifically notifo Covernment counsel.
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search warrant, grand   jury   subpoena, other legat process,     or consent. These matet'ials may    be


reviewed by scheduling an appointment during business hours at the Urrited States Attorney's

Office and/or at the law enforcernent agency in possession of any original evidence. To the extent

tltat these materials are not voluminous and may be conveniently copied, the Government may

elect to provide copies of these nraterials to Defendant's counsel; otherwise, Defendatrt's counsel

may make arrangenrents to make copies of these nraterials at Defendant's expense.z

       3.       Government's Witness Ststements/Information and Brcdy                  MnteriaL    With

respect to tlre Defendant, any co-defendants, and any witnesses reasonably arrticipated to testify at

trial. the Covernnrent will provide copies of law enforcement reports (excluding evaluative

material of matters such as possible defenses and legal strategies), witness statenrents, and

memoranda of witness interviews prepared by Cover:nment investigatols (e.g., FBI 302s, DEA-5s,

etc.), which provide the basis for the case againstthe Defendant. The Government also       will provide

copies of any Brady or Jencks Act materials (other than grand      ju,y transcripts) of which the United

States Attorney's Office is aware and possesses. These nraterials      will   be provided upon execution

ancl approval   of this Agreement, to be supplemeuted      if and when additional materials become
available. Should Det'endant's counsel become aware             of any potential Brady material      not

contained in the discovery file, Def'endant's connsel will notify the Urrited States Attorney's Office

and request that such infornration be added to the discovery file.

       4.        Resttictions orr IJse and Disclosura.   All   uratelials provided under this Agreement

are for the limited purpose of being r.rsed in the above-eaptioned criminal case and may not be used




       2    dissemination or release of any of these materials is prohibited by law, see, e.g.,
           If
l8 U.S.C. $ 3509(m), Defendant's counsel will not be pernritted to copy them.
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or disclosed flor any other purpose, including for any other civil or criminal case in fbderal or state

court (other than proceedings arising from this prosecution under 28 U.S.C. $ 2255), unless

specifically permitted and ordered by the United States District Court for tlre Southern District of

Iowa. These materials may be discussed with and shown to Defendant. However, copies of the

following material. in any form3, may not be left with or plovided to the Defendant or any other

person (nor rnay Defendant be perrnitted to nrake copies of these materials): law enforcement

reports, investigative reports and summaries, witness statements, menroranda               of   witness

interviews, medical records (other than defendant's own medical records), audio recordings. video

recoldings, and grand jury testimony and exhibits. Deferlse counsel also agrees not to show any

such matelials, nlefitoranda,   ol witness interviews to any witrress in the case, except for      any

transcribed testinrony or r.vritten statement signed or expressly adopted by that witness. Copies    of

discovery materials provided to Defendant's counsel shall be eitlrer destroyed or returned to

Government counsel following the conclusion of all matters relating to this criminal case.

       5.      Redacted   or Fltithheld lffirmation, The Government may ledact or withhold
information from discovery for security concerns or to protect an ongoing investigation or,

alternatively, may require that such materials be reviewed at the U.S. Attorney's Office and not

copied; the Government also may redact certain personal identifying information, such as social

security numbers and dates of bitth, to protect the privacy irrterests of poterrtial witnesses.4 This



       3
        Tlris includes both paper and electronic copies, as well as sulnrllaries or dictation that may
be prepared by or on behalf of Defendant's counsel.

       a To tlre extent that any discovery nraterials in this case contain personal identifying
information of any person, such as social secr.rrity numbers, dates of birth, or financial account
information, or any person's medical records or information. Defendant's counsel agrees that these
materials will be subject to the restrictions set forth in paragraph 4.

                                                  3
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cloes not preclude the Defendant      from requestin g in cantera review by the Court of such material,

uporl proper showiug, in order to deterrnine wlrether or not it should be disclosed in accordance

with Fed. R. Crirn. P. l6 ol other legal authorities. Where information is rvithheld, a notice of the

withholding, along rvitlr a general description of the type of material withheld, rvill be provided to

Def'endant's counsel. TIre Goverrunent also       will   not disclose evidence that it may elect to use for

impeachment of defense witnesses or as possible rebuttal evidence.

        6.      Special Requirements      for   Cases    Involving Minor Victims and/ar Witnesses, The

parties agree that any and al[ discovery irtformation identifying minor victims and/or minor

r,vitnesses shall be subject to the   following restrictions, in accordance with Fed. R. Crinr. P. l6(d)

(discovery and inspection), Fed. R. Crim. P. 49.1 (privacy protections),         l8 U.S.C, $ 3509(d) (The

Child Victims'and Child Witnesses'Rights Act), and l8 U.S.C. $ 3771(a) (The Crime Victinrs'

Rights Act):

        .    AII docunrents that disclose the name or any otlrer inforrtation concerning a minor
             victim/witness shall be kept in a secure place to ruvhich no person wlro does not have
             reason to know their content has access.

        .    Copies of discovery materials containiug identifying irrformation or potentially
             identifoing information for any minor victinr/witrress shall not be left with tlre
             Deferrdant.

             All publicly filed or disseminated docunrents shall identify minor victims/witnesses by
             genelic uame, such as "Minor A,"

             Defendant may not, directly or indirectly, including through family members or other
             personal contacts, make any attempt to contact any rninor victim or witness in the case.
             (This prohibition does. not prohibit Defendant's counsel, or private investigator, fi'onr
             contact with potential witnesses, subject to the restrictions below.)

             If Defendant's counsel or private investigator contacts any victim/witness who has not
             attained the age of 18, the victirn/witness shall be advised from the outset that the
             victim/witness can decline ta speak with Defendant's counsel/investigator and can have
             art adult of the minor's choosing present. For example, an investigator acting on behalf
             of Defendant shall state as follorvs: "l work for tlre Defendant arrd Defendant's lawyers
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            regarding criminal charges the Coverntnent has asserted against the Defbndant. I
            would like to speak to you about that matter. You can decline to speak with me. You
            can also have an adult of your choosing present if you decide to speak with rne. Will
            you speak with me and if so, who rnorrld you like to be present?" The Covernrnent
            may advise any minor victim/witness and their parents or legal guardians of their rights
            to speak with defense personnel only if they choose, and to have an adult of their
            choosittg present.

       7.      Defendunt's Reciprocal Discovety Obligutions, Defbndant agrees to provide the

following reciprocal discovery materials within I'ourteen calendar days of this Agreement: Copies

of documents, tangible objects, and other materials tlrat Defendant may offer into evidence during

its case-in-chief, reports of exanrinations and tests. and sunrmaries of expert wimesses, to the firll

extent of Fed. R. Crim. P. l6(b); and, statements of arry witness Defeudant intends to call at trial,

including any written statements or substantially verbatim, contenrporaneously recorded recital of

such prior statements to the   full extent of Fed. R. Crirn. P.26.2{f) and l8 U.S.C. $ 3500(e).

       8.      Notice Under Rules of Evidence and Criminal Proceclure. Unless otherwise

indicated, the general nature of infonnation that the Governrrrent nray offer into evidence pursuant

to Federal Rules of Evidence 404(b) and 609(b) is set forth within the discovery materials. The

undersigned counsel for the Defendant understatrds and agrees that the review of these materials

provides the Defendant with necessary notice, in conrpliance with Federal Rule            of Crinrinal
Procedure lZ(b)(a) and Federal Rules of Evidence 404(b) and 609(b), as to auy and all rnaterials

which are relevant to tltose rules. Upon a specific request by Defendant's counsel, however, the

Government   will specify whether it intends to use any    such evidence, whether it   will   be offered

pursuant to Rule 404(b), and the purpose for which       it is offered under the rule without further

motion or order.
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        9.       Giglio Information. The Covernnrent will provide potential Giglio information

relating to witnesses reasonably anticipated to be called duling its case*in-chief and will, in

advance of trial, run "rap'o sheets of non-law enforcenrent r.vitnesses reasonably anticipated to be

catted as witnesses durirrg its case-irr-chief, Any potential or alleged Giglio information related to

law enforcement witnesses must be reviewed at the U.S. Attorney's Office and must remain at all

time in the Government's custody; the Government reserves the right to submit such materials to

the Courtfor in camera review to deternrine u'hether disclosure is required.

        10,      Grsnd Jury Testimony. Tlre Governtneut agrees to provide counsel for the

Defendant with access to the grand jury testimony of witnesses reasonably anticipated to be called

as witnesses at trial no later than ten calendar days before the scheduled trial date.            If   the

Covernrnent elects to delay disclosure of grand jury transcripts until less than ten calendar days

before trial, because of witness security concerns orotherreasons,     itwill notify defense    counsel.

Any copies of grand jury testimony lvill be subject to tlre restrictions regarding law enforcement

reports and witness statenrents, as set forth above. Defendant's counsel agrees not to move fbr a

continuance of the trial date once tlre grand jury transcripts have been disclosed.

        I   l.   Materials Obtained by Trial Subpoena (Mutuul Obligation). Arry                mate rials

obtained pursuant to trial subpoenas issued by either pa$y   will   be disclosed to all parties, in   full,

intnrediately upon receipt. The parties firrther acknowledge that neitlrer party may require the

production of documents or other evidence prior to trial pursuant to a trial subpoerra without

obtainingaspecific Courtorder, with notice to atl parties, in accordance with Rule l7(c) of the

Federal Rules of Criminal Procedure.
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          12,     Witness ond   Exhibit Lists.    Tkre parties agree to exchange witness lists and   exhibit

lists no later than flve calendar days before the scheduled trial date.

          13,     Continuing Obligatiotr. The parties acknowledge that they are subject to                    a


continuing duty of disclosure, including under Federal Rule of Crirninal Procedure l6(c). The

parties   will promptly disclose any additional discovery materials under this Agreentent * inclrrding

Rrrle   l6   rnaterials, witness information, and Brady infounation        - if additional materials        are


identified or obtained followirrg execution of this Agreement or beyond the deadlines agreed

herein. Any additional nraterials provided          will be subject to the restrictions set forttt in this

Agreement. Opposing counsel       will   be notified when additional discovety materials are added.

          14.    Resolutiotr of Disputes. The parties agree that they        will attempt to resolve any

disputes involving discovery and reciprocal discovery between themselves before                filing any

discovery-related motions (including motions for bills of particulars) with the Court, consistent

with the requirernents of Local Criminal Rule 16(b).

          15.    Applicabitity. Undersigned counsel for both parties agree that the terms and

restrictions of this agreenrent extend to other lawyers, staff, and investigators working with or on

behalf of the undersigned counsel (including, but not lirlited to, otlrer ernployees or lawyels

associated    with defbnse counsel's law practice, and any investigators retained by or acting on

betralf of the Defendant, as well as employees of the U.S. Attorney's Office and Governnrent

investigators assigrred to this oase).     If   dil-ferent counsel is appoirrted or letained to represent

Defendant, tlre discovery nraterials provided under this Agreenrent shall not be released to new

counsel until new counsel files a statement with the Court asknowledging that counsel                will   be
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bould to the terms of this Agreement. Any violation of this agreement will obligate the Defendant

to imnrediately return any and all documents provided to the U.S. Attorney's Office.

        16.     Authority and Scope. The parties agree that the Coutt has the authority to enter

and enforce this Order, including under the authority of Rule t6(d) of the Federal Rules of Crirninat

Procedure, and that this Order shall be remain binding on all counsel, including any additional or

new counsel that may appear on behalf of the Government or tlre Delbndant after execution of this

Agreement.

        IT IS SO ORDERED.

        Dated   this   26th       day   of February, 2019.



                                                 Honorable
                                                 United States Magistrate Judge

SEEN AND AGREED:

 i)
 (J

                                                 B. Jolrn Burns
                                                 Attorney for the Defendant


                                                  Marc Krickbaum
                                                  United States Attorney




Date
                                                  Assistant United States Attomey
